     Case 4:16-cv-01414 Document 543 Filed in TXSD on 12/04/18 Page 1 of 8




Kate D. David
Office Managing Partner

600 Travis, Suite 2350
Houston, Texas 77002
Direct: 713.525.6258
Fax: 713.647.6884
kate.david@huschblackwell.com


                                         December 4, 2018

The Honorable Lee H. Rosenthal, District Judge
United States Courthouse
515 Rusk Street, Room 11535
Houston, Texas 77002

        Re:     Case No. 16-cv-01414; ODonnell et al. v. Harris County, Texas et al.;
                In the U.S. District Court for the Southern District of Texas, Houston, Division

Dear Chief Judge Rosenthal:


In accordance with the Court’s Amended Preliminary Injunction, please find the November
24, 2018 through December 2, 2018 weekly report. Of 486 misdemeanor arrestees, there
were a total of 57 who were not present for their initial bail hearing, before a Hearing Officer,
within 48 hours of arrest. Please see below:

                          Reason                                      Count
                          Medical-condition                              34
                          Mental-illness or Intellectual-disability       9

                          Other reason not present                       14

                          Hearing more than 48 hours after arrest         0




                                               Sincerely,

                                               /s/ Kate David

                                               Kate D. David
                          Case 4:16-cv-01414 Document 543 Filed in TXSD on 12/04/18 Page 2 of 8



CONFIDENTIAL - Weekly Report: Hearing over 48 hours or not present from Nov 24, 2018 to Dec 02, 2018

                                                            PC Docket
                                               Arrest                               Not Present                       Arresting
 Defendant Name     CaseNbr         CourtID                 Setting       Present                      DefendantSPN
                                               Date                                 Reason                            Agency
                                                            Date

                                                                                                                      SHERIFFS
 FARWELL,
                                               11/23/2018    11/24/2018             Medical-                          DEPARTMENT
 KIARRA             223481501010           2                              No                                2974650
                                                    18:20          7:00             condition                         HARRIS
 SPENAE
                                                                                                                      COUNTY


                                                                                                                      SHERIFFS
 LUSH,
                                               11/23/2018    11/24/2018             Medical-                          DEPARTMENT
 WILLIAM            223482501010          13                              No                                2974659
                                                    20:01          7:00             condition                         HARRIS
 GLEN
                                                                                                                      COUNTY


 JOHNSON,                                                                                                             HOUSTON
                                               11/23/2018    11/24/2018
 JASON              222755301010           6                              No        Disruptive              1733935   POLICE
                                                     4:49         10:00
 LESHAUN                                                                                                              DEPARTMENT


 REEVES,                                                                                                              HOUSTON
                                               11/24/2018    11/25/2018             Medical-
 MICHELE            223239501010           6                              No                                1733982   POLICE
                                                    14:00          4:00             condition
 EVELYN                                                                                                               DEPARTMENT


                                                                                                                      HOUSTON
 FRANZEN,                                      11/24/2018    11/25/2018             removed from
                    223495701010          15                              No                                2087746   POLICE
 MICHAEL                                            16:26         10:00             Court
                                                                                                                      DEPARTMENT

                                                                                                                      RICE
 GRAY, JASON        223502801010               11/24/2018    11/25/2018
                                           5                              No        Med/ MHU                2974771   UNIVERSITY
 JERMON             223502901010                    13:10         13:00
                                                                                                                      POLICE

                                                                                    Mental-illness                    HOUSTON
 KNIGHT,                                       11/24/2018    11/25/2018
                    223498401010          11                              No        or Intellectual-        1774231   POLICE
 LLOYD LEE                                          19:20         16:00
                                                                                    disability                        DEPARTMENT




                                                               CONFIDENTIAL
                    Case 4:16-cv-01414 Document 543 Filed in TXSD on 12/04/18 Page 3 of 8




                                                                                                SHERIFFS
YOMSARN,
                                    11/25/2018   11/25/2018        Medical-                     DEPARTMENT
STEPHANIE      223501901010    12                             No                      1374795
                                          1:25        16:00        condition                    HARRIS
MICHELLE
                                                                                                COUNTY


                                                                   Mental-illness               HOUSTON
WOODS,                              11/24/2018   11/25/2018
               223502101010    15                             No   or Intellectual-   2281626   POLICE
NOLAN CRAIG                              23:47        18:00
                                                                   disability                   DEPARTMENT

LEMON, KEITH                        11/25/2018   11/26/2018        per hcso                     CONSTABLE
               223109901010     6                             No                      1291593
DEMONTREAL                               18:00         4:00        suicidal                     PCT 4

                                                                                                SHERIFFS
                                                                   per hcso
                                    11/25/2018   11/26/2018                                     DEPARTMENT
PINA, ISAAC    223512301010    15                             No   combative and      2721014
                                          5:21         4:00                                     HARRIS
                                                                   uncooperative
                                                                                                COUNTY


                                                                   Mental-illness               HOUSTON
WASHINGTON,                         11/24/2018   11/26/2018
               223374101010     6                             No   or Intellectual-   2591884   POLICE
GWENDOLYN                                21:28         7:00
                                                                   disability                   DEPARTMENT


                                                                                                SHERIFFS
WILLIAMSON,                         11/25/2018   11/26/2018        Medical-                     DEPARTMENT
               217183301010    15                             No                      2920675
TAMIA MARIE                              19:12        10:00        condition                    HARRIS
                                                                                                COUNTY


EGIEBOR,                                                                                        HOUSTON
                                    11/25/2018   11/26/2018        Medical-
ESEMWENRE      223516101010     5                             No                      2633545   POLICE
                                         15:28        13:00        condition
GLENDA                                                                                          DEPARTMENT


                                                                   per So def                   HOUSTON
WHITE, ALVIN   221268001010         11/25/2018   11/26/2018
                                6                             No   refused to         2202198   POLICE
PHILLIP        221486701010              14:40        13:00
                                                                   come                         DEPARTMENT




                                                   CONFIDENTIAL
                   Case 4:16-cv-01414 Document 543 Filed in TXSD on 12/04/18 Page 4 of 8




                                                                                               HOUSTON
HODGE,                             11/25/2018   11/26/2018        Medical-
              223523401010    11                             No                      2948118   POLICE
PAULETTE                                22:44        23:00        condition
                                                                                               DEPARTMENT

ROBERTSON,
                                   11/26/2018   11/27/2018        combative per                CONSTABLE
TIMOTHY       223529201010     7                             No                      1276303
                                        16:21         4:00        hcso                         PCT 7
DWAYNE

                                                                                               HOUSTON
MONDARY,                           11/26/2018   11/27/2018        Medical-
              223527701010     8                             No                      2134209   POLICE
TAMMY A.                                 7:34         7:00        condition
                                                                                               DEPARTMENT


                                                                                               SHERIFFS
                                                                  Mental-illness
HUNT,                              11/26/2018   11/27/2018                                     DEPARTMENT
              223530801010     6                             No   or Intellectual-   2975064
RICHARD                                 18:20        10:00                                     HARRIS
                                                                  disability
                                                                                               COUNTY


ADDISON,                                                          Mental-illness               HOUSTON
                                   11/26/2018   11/27/2018
KEVIN         223531901010     4                             No   or Intellectual-   1181142   POLICE
                                        13:32        16:00
LAMONT                                                            disability                   DEPARTMENT


                                                                                               SHERIFFS
              218560801010
MARROQUIN,                         11/26/2018   11/27/2018        Medical-                     DEPARTMENT
              218632601010    14                             No                      2203778
LUIS                                    14:00        18:00        condition                    HARRIS
              219332101010
                                                                                               COUNTY


                                                                                               HOUSTON
BRANCH,                            11/26/2018   11/27/2018        Medical-
              223531701010    15                             No                      2192921   POLICE
REGINA LYNN                             16:24        20:00        condition
                                                                                               DEPARTMENT


                                                                                               SHERIFFS
LOMAS,
                                   11/27/2018   11/27/2018        Medical-                     DEPARTMENT
RICHARD       184561501010     6                             No                      1858521
                                        10:55        23:00        condition                    HARRIS
WAYNE
                                                                                               COUNTY




                                                  CONFIDENTIAL
                   Case 4:16-cv-01414 Document 543 Filed in TXSD on 12/04/18 Page 5 of 8




                                                                                             HOUSTON
SERI, EDGAR                        11/27/2018   11/27/2018        Medical-
              223536301010    12                             No                    2975131   POLICE
FYFE                                     1:30        23:00        condition
                                                                                             DEPARTMENT

FRYE, GLYNN                        11/29/2018   11/28/2018        Medical-                   CONSTABLE
              223532701010     6                             No                    2211637
MICHAEL                                 17:00         4:00        condition                  PCT 4

                                                                                             HOUSTON
LAMFORD,      219066901010         11/27/2018   11/28/2018        Medical-
                               2                             No                    2935974   POLICE
LYDRECCA      223539501010              16:10         4:00        condition
                                                                                             DEPARTMENT


JOHNSON,                                                                                     HOUSTON
                                   11/27/2018   11/28/2018        Medical-
EMERALD       223538501010     2                             No                    2459060   POLICE
                                        12:30         7:00        condition
FRANCIS                                                                                      DEPARTMENT


MERIMON,                                                                                     SEABROOK
                                   11/28/2018   11/28/2018        Medical-
JOSEPH        219537901010     4                             No                    2939499   POLICE
                                         1:30        10:00        condition
THOMAS                                                                                       DEPARTMENT


                                                                                             HOUSTON
GRAY, JOHN                          12/1/2018   11/28/2018        Medical-
              223237901010     7                             No                    2972058   POLICE
HENRY                                    1:00        16:00        condition
                                                                                             DEPARTMENT


                                                                                             HOUSTON
FEREDE,       167265601010         11/28/2018   11/28/2018        Medical-
                               2                             No                    1483427   POLICE
SAMSON T      167265701010               8:00        20:00        condition
                                                                                             DEPARTMENT


VALDEZ,                                                                                      PASADENA
                                   11/23/2018   11/28/2018        Medical-
RACHAL        223487501010     3                             No                    1324931   POLICE
                                        20:06        23:00        condition
LOREDO                                                                                       DEPARTMENT


                                                                                             HOUSTON
GREEN,        223552001010         11/27/2018   11/29/2018        disruptive per
                               5                             No                    132476    POLICE
HARRY         218028801010              22:50         4:00        hcso
                                                                                             DEPARTMENT




                                                  CONFIDENTIAL
                     Case 4:16-cv-01414 Document 543 Filed in TXSD on 12/04/18 Page 6 of 8




                                                                                                 SHERIFFS
                                                                    Mental-illness
WOODCOCK,                            11/28/2018   11/29/2018                                     DEPARTMENT
                223558901010    11                             No   or Intellectual-   2975360
CHRISTOPHER                               21:30        13:00                                     HARRIS
                                                                    disability
                                                                                                 COUNTY


                                                                                                 SHERIFFS
LINDESY,
                                     11/28/2018   11/29/2018        Medical-                     DEPARTMENT
RAYMOND LEE     223561201010    15                             No                      2255782
                                          23:00        16:00        condition                    HARRIS
JR.
                                                                                                 COUNTY


MCGUFFEY,                                                                                        HOUSTON
                223298501010         11/29/2018   11/30/2018        Medical-
DOUGLAS                         14                             No                      2972593   POLICE
                223298601010              14:55         4:00        condition
LYNN                                                                                             DEPARTMENT


                210472901010                                                                     SHERIFFS
GARDNER,
                208196201010         11/29/2018   11/30/2018        Medical-                     DEPARTMENT
QUANDARRIUS                      7                             No                      2842844
                218175201010              11:46         7:00        condition                    HARRIS
DEVONTA
                223570801010                                                                     COUNTY


                                                                    Mental-illness               HOUSTON
COMEAUX,                             11/29/2018   11/30/2018
                223571501010     6                             No   or Intellectual-   2528231   POLICE
OSCAR JOSEPH                              14:26        13:00
                                                                    disability                   DEPARTMENT


                                                                                                 SHERIFFS
                                     11/29/2018   11/30/2018                                     DEPARTMENT
SMITH, DHEJA    223570501010    12                             No   disruptive         2547177
                                          17:50        13:00                                     HARRIS
                                                                                                 COUNTY

                                                                    Mental-illness
SCOTT,                               11/30/2018   11/30/2018                                     CONSTABLE
                223227801010    13                             No   or Intellectual-   2087329
BRANDI                                    11:00        18:00                                     PCT 3
                                                                    disability

                                                                                                 HOUSTON
WILLIAM, ERIC                        11/29/2018   11/30/2018        Medical-
                223576301010     8                             No                      2961777   POLICE
JAMAL                                     16:16        20:00        condition
                                                                                                 DEPARTMENT




                                                    CONFIDENTIAL
                    Case 4:16-cv-01414 Document 543 Filed in TXSD on 12/04/18 Page 7 of 8




                                                                                               HOUSTON
COTTON,                             11/29/2018   12/1/2018        Medical-
               223578901010    15                            No                      2214884   POLICE
BRANDONE                                 23:52        2:00        condition
                                                                                               DEPARTMENT

MCWHORTER,
                                    11/30/2018   12/1/2018        Medical-                     CONSTABLE
SHANEQUEA      223584501010     7                            No                      2797215
                                          6:22        2:00        condition                    PCT 4
DONYA
MILLER,                             11/30/2018   12/1/2018        Per HCSO, D                  CONSTABLE
               223586501010     8                            No                      2975633
ALEXIS                                   12:04        2:00        uncooperative.               PCT 4

                                                                                               WEST
PARKER,                             11/30/2018   12/1/2018        Medical-                     UNIVERSITY
               223497801010     5                            No                      2836767
DONAVAN                                   1:30        4:00        condition                    POLICE
                                                                                               DEPARTMENT


                                                                                               HOUSTON
HARRIS,                             11/29/2018   12/1/2018
               223582501010     2                            No   disruptive         2876747   POLICE
LANEISHA                                 20:39        7:00
                                                                                               DEPARTMENT

                                                                  Mental-illness
ROWE, JOSEPH                        11/30/2018   12/1/2018                                     CONSTABLE
               223590601010     2                            No   or Intellectual-   2908724
JAMES                                    18:39        7:00                                     PCT 5
                                                                  disability

                                                                                               HOUSTON
CAMPBELL,      223584801010         11/30/2018   12/1/2018        Medical-
                               11                            No                      2975628   POLICE
JERRY LEE      223584901010               0:03       10:00        condition
                                                                                               DEPARTMENT


JONES,                                                                                         HOUSTON
               223562001010         11/30/2018   12/1/2018
DERRICK                         6                            No   Disruptive         2103484   POLICE
               223589101010               5:53       10:00
CHARLES                                                                                        DEPARTMENT


ROBERTSON,                                                                                     HOUSTON
               220234901010          12/1/2018   12/1/2018        Medical-
TA KEISHELA                    14                            No                      2895929   POLICE
               220235001010               7:17       23:00        condition
SHERNAE                                                                                        DEPARTMENT




                                                  CONFIDENTIAL
                    Case 4:16-cv-01414 Document 543 Filed in TXSD on 12/04/18 Page 8 of 8




DAVILA,                                                                                  DEER PARK
                                    11/30/2018   12/2/2018        Medical-
CESAR          223589301010     9                            No                2012297   POLICE
                                         14:43        2:00        condition
SALOMON                                                                                  DEPARTMENT


MABRIE,                                                                                  BAYTOWN
                                    11/30/2018   12/2/2018        per HCSO
BRENT          223595601010     3                            No                1505260   POLICE
                                         20:38        2:00        combative
WESLEY                                                                                   DEPARTMENT


                                                                                         HOUSTON
GONZALES,                           11/30/2018   12/2/2018        Medical-
               223598101010     1                            No                2949725   POLICE
KOBIE                                    22:13        4:00        condition
                                                                                         DEPARTMENT


MITCHELL,                                                                                U.H.
               222457501010          12/1/2018   12/2/2018        Medical-
DERRICK                        14                            No                2845346   CENTRAL
               223599701010               2:38        4:00        condition
ELIJAH                                                                                   CAMPUS PD


                                                                                         HOUSTON
SIMS, RYAN                          11/30/2018   12/2/2018        Medical-
               223600101010     3                            No                2901907   POLICE
JAMAR                                    21:05        4:00        condition
                                                                                         DEPARTMENT


                                                                                         HOUSTON
                                     12/1/2018   12/2/2018
RICHARD, LEO   223602201010     9                            No   Disruptive   2228516   POLICE
                                          9:32       10:00
                                                                                         DEPARTMENT

ALICEA,
               222621301010          12/2/2018   12/2/2018        Medical-               CONSTABLE
BRENDALIZ                      10                            No                2395051
               223615001010               4:45       20:00        condition              PCT 4
PAGAN

                                                                                         PASADENA
OWENS,                               12/2/2018   12/2/2018        Medical-
               223607201010    13                            No                2975733   POLICE
DUANE ALLEN                               2:17       23:00        condition
                                                                                         DEPARTMENT




                                                  CONFIDENTIAL
